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13                                UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15

16   LEYLA SHAMS, as an individual and on              Case No. 5:22-cv-01745-NC
     behalf of all others similarly situated,
17                                                     JOINT SUPPLEMENTAL
                    Plaintiff,                         STATEMENT BRIEF IN RESPONSE
18                                                     TO ORDER GRANTING
             v.                                        DEFENDANT’S MOTION TO
19                                                     COMPEL ARBITRATION;
     REVATURE LLC, a Virginia corporation; and         ORDERING SUPPLEMENTAL
20   DOES 1 through 50, inclusive,                     BRIEFING ON REMAINING CLAIMS

21                  Defendants.
                                                       Date of Removal:   03/18/2022
22                                                     Complaint Filed:   02/14/2022
                                                       Trial Date:        Not set
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     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
     MOTION TO COMPEL ARBITRATION; ORDERING SUPPLEMENTAL BRIEFING ON REMAINING
     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
     MOTION TO COMPEL ARBITRATION; ORDERING SUPPLEMENTAL BRIEFING ON REMAINING
     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1           At the Court’s request, as set forth in its August 17, 2022 Order Granting Defendant’s
 2   Motion to Compel Arbitration, Plaintiff Leyla Shams (“Shams” or “Plaintiff”) and Defendant
 3   Revature LLC (“Revature” or “Defendant”) (together “the Parties”) hereby submit their respective
 4   positions as to how the Court should handle Plaintiff’s representative PAGA claims while
 5   maintaining judicial economy. (See ECF No. 18, p.7:1-4.)
 6   I.      PLAINTIFF’S POSITION
 7           Plaintiff’s Individual PAGA Claim:       Plaintiff agrees to demand arbitration on her
 8   individual claims by September 30, 2022, considering the Court’s prior order. Dkt. No. 18.
 9           The Representative PAGA Claim: Just as the Court declined Plaintiff’s invitation to stay
10   the action pending a ruling from the California Supreme Court in Adolph v. Uber Technologies,
11   Inc., see Dkt. No. 18 at pg 6, n.2, the Court should decline to stay this action pending resolution
12   of the individual arbitration.
13           A. Issuing a Stay Thwarts the Purpose of the PAGA
14           The Legislature’s intent with PAGA was specifically to “achieve maximum compliance
15   with state labor laws,” “ensure an effective disincentive for employers to engage in unlawful and
16   anticompetitive business practices,” and provide a “meaningful deterrent to unlawful conduct.”
17   See 2003 Cal Stats. ch. 906, § 1 (PAGA legislative findings). Thus, while relief in PAGA actions
18   is generally limited to the collection of civil penalties, PAGA is analogous to criminal statutes
19   where the primary purpose and aspiration of the Legislature focuses on maximizing compliance
20   with the law. See Arias v. Superior Court, 46 Cal.4th 969, 986 (2009) (explaining relief under the
21   PAGA is designed to benefit the general public).
22           Issuing a stay effectively thwarts the very purpose of the PAGA to achieve maximum
23   compliance with the Labor Code. In Leenay v. Superior Court, which was decided after Viking
24   River, the California Court of Appeal explained:
             When an employee chooses to forgo individual claims and brings a PAGA action
25
             on behalf of the state, the “employer should not be able [to] dictate how ... the
26           representative action proceeds” by capitalizing on another employee's decision to
             bring arbitrable claims. [citation] That result would create an unwarranted obstacle
27           to “‘the effective prosecution of representative PAGA actions’ ” and undermine the

28                                            3
     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
     MOTION TO COMPEL ARBITRATION; ORDERING SUPPLEMENTAL BRIEFING ON REMAINING
     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1          Legislature's objective to “‘augment the limited enforcement capability’” of the
            state.
 2
     81 Cal. App. 5th 553, 571 (2022).
 3
            Here, Plaintiff seeks PAGA penalties for past and ongoing violations by Defendant related
 4
     to its alleged unlawful practices. See Complaint, Dkt. No. 1-4, ¶¶ 16-22. Thus, further delay
 5
     presents more than just the “fair possibility” of continued harm to the Aggrieved Employees
 6
     Plaintiff seeks to represent. Staying the representative portion of the case would permit Defendant
 7
     to sweep the substantive allegations in this case, brought on behalf of the State of California, under
 8
     the rug into private arbitration and would impede the State’s ability to enforce the Labor Code.
 9
            B. The Court Should Not Exercise Its Discretion to Stay the Action
10
            Landis v. North American Co. recognized courts’ inherent power to stay proceedings, but
11
     “[o]nly in rare circumstances will a litigant in one case be compelled to stand aside while a litigant
12
     in another settles the rule of law that will define the rights of both.” 229 U.S. 248, 255 (1936). To
13
     justify a stay, the stay proponent bears “the burden of making out the justice and wisdom of a
14
     departure from the beaten track” of exercising jurisdiction. Id. at 256. The proponent “must make
15
     out a clear case of hardship or inequity in being required to go forward, if there is even a fair
16
     possibility that the stay for which he prays will work damage to someone else.” Id. at 255. The
17
     CMAX factors do not support a stay either. See CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir.
18
     1962) (explaining courts should consider “possible damage which may result from the granting of
19
     a stay, the hardship or inequity which a party may suffer in being required to go forward, and the
20
     orderly course of justice measured in terms of simplifying or complicating issues, proof, and
21
     questions of law which could be expected to result from a stay.”).
22
            Allowing the representative PAGA claim to proceed simultaneously with the arbitration
23
     will not cause harm to Defendant. Plaintiff is willing to coordinate discovery, to the extent
24
     feasible, and to meet and confer with Defendant to arrive at a discovery plan that balances the
25
     important competing interests in this case. Alternatively, if the Court stays the representative
26
     PAGA action, Defendant will be absolved of responding to the allegations brought on behalf of
27
     the State regarding the other employees for an undetermined period of time.
28                                            4
     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
     MOTION TO COMPEL ARBITRATION; ORDERING SUPPLEMENTAL BRIEFING ON REMAINING
     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1           Defendant essentially argues that a stay is appropriate because if it is successful in
 2   defeating Plaintiff’s claims in arbitration, then Plaintiff will not have standing to pursue her
 3   representative PAGA claim. If this argument were persuasive, then every court should stay a case
 4   pending a defendant’s motion for summary judgment because, if successful, there would be no
 5   need for a trial.
 6           The outcome of arbitration is, of course, uncertain. To prejudge the result of the arbitration
 7   will result in more harm than good. Even if Plaintiff is only successful on one of her claims, she
 8   could still pursue her claims on behalf of other aggrieved employees who suffered different
 9   violations of the Labor Code. Huff v. Securitas Sec. Servs. USA, Inc., 23 Cal. App. 5th 745, 756
10   (2018) (“Given the goal of achieving maximum compliance with state labor laws, it would make
11   little sense to prevent a PAGA plaintiff (who is simply a proxy for state enforcement authorities)
12   from seeking penalties for all the violations an employer committed.”). As explained in Huff, “so
13   long as [Plaintiff] was affected by at least one of the Labor Code violations alleged in the
14   complaint, [s]he can recover penalties for all the violations [s]he proves.” Id. at 761.
15           In the circumstance contemplated by Huff, the Court would be left with a case stagnating
16   on its docket for at least year (possibly more) with the Parties only to return to begin discovery.
17   Alternatively, if the Parties proceed simultaneously, they will be able to continue litigation and
18   move to trial at the conclusion of arbitration proceedings.
19           Even if the Court were to stay the action pending arbitration, and Defendant is successful
20   in defeating Plaintiff’s claims, the Parties will necessarily be back in this Court at the conclusion
21   of arbitration to seek a ruling regarding the representative PAGA claims, which this Court
22   already held may not be arbitrated. Dkt. No. 18, at 5-6; see also Viking River Cruises, Inc. v.
23   Moriana, 142 S. Ct. 1906, 196 (2022) (holding that “pre-dispute agreements to waive the right to
24   bring representative PAGA claims are invalid as a matter of public policy.”).
25           While Defendant contends that the arbitrator’s decision will control whether Plaintiff has
26   standing, Plaintiff disputes this contention. Prior to Viking River, courts explained that
27   employees may not be compelled to arbitrate whether they qualify as an “aggrieved employee”
28                                            5
     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
     MOTION TO COMPEL ARBITRATION; ORDERING SUPPLEMENTAL BRIEFING ON REMAINING
     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1   under the statute. Brooks v. AmeriHome Mortgage Co., LLC, 47 Cal. App. 5th 624, 629 (2020)
 2   (“Brooks alleged a single cause of action under PAGA and did not allege an individual claim for
 3   wage recovery in his complaint.... Because he brought a representative claim, he cannot be
 4   compelled to separately arbitrate whether he was an aggrieved employee”). Even if an
 5   employee’s individual PAGA claims may be compelled to arbitration under Viking River, how
 6   and whether the result of the individual PAGA arbitration impacts standing is an issue of state
 7   law that is not clear at this juncture. Thus, a stay does not serve judicial economy.
 8            Finally, courts in similar circumstances have refused to stay a portion of a plaintiff’s claim
 9   while the remainder is arbitrated. Prior to Viking River, courts were often presented with requests
10   to stay from employers who contended that resolution of the Plaintiff’s “individual” wage and hour
11   claims should occur prior to litigation of an employee’s PAGA claims. The same considerations
12   supporting denial of Defendant’s request in this circumstance were relied on by courts denying
13   motions to stay previously. See, e.g., Jarboe v. Hanlees Auto Grp., 53 Cal. App. 5th 539, 554
14   (2020), review denied (Dec. 9, 2020) (affirming trial court’s order denying stay and explaining,
15   “Because a PAGA claim is representative and does not belong to an employee individually, an
16   employer should not be able dictate how and where the representative action proceeds.”); Harper
17   v. Charter Commc'ns, LLC, No. 219CV00902WBSDMC, 2021 WL 4784417, at *10 (E.D. Cal.
18   Oct.     13,   2021),   motion   to   certify   appeal   granted,    reconsideration    denied,    No.
19   219CV00902WBSDMC, 2022 WL 1204706 (E.D. Cal. Apr. 22, 2022) (“However, because a stay
20   would impede vindication of California's interests in enforcing the Labor Code through
21   representative PAGA actions, discussed above, and because the PAGA claim represents a distinct
22   “action” in this case, the court will not stay Harper's PAGA claim.”); Tan v. GrubHub, Inc., 171
23   F. Supp. 3d 998, 1013 (N.D. Cal. 2016) (citing cases and discussing sound reasoning to deny
24   request for stay of later-filed PAGA action in favor of prior action); see also Guzman v. Walmart
25   Inc., United States District Court, Northern District of California, Case No. 21-cv-09133-NC, Dkt.
26   52 (Order Denying Defendant’s Motion to Stay) (declining to stay action).
27   ///
28                                            6
     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
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     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1            For these reasons, Plaintiff requests that the Court conduct a scheduling conference
 2   regarding the representative PAGA claim and permit the Parties to meet and confer regarding an
 3   appropriate discovery plan and trial date.
 4   II.      DEFENDANT’S POSITION
 5            Plaintiff’s Individual PAGA Claim: As an initial matter, Revature requests an order that
 6   Plaintiff file her arbitration demand, to include her individual PAGA claims, no later than
 7   September 30, 2022. Now that this Court has ordered Plaintiff’s individual claims to arbitration,
 8   there is no cause for further delay. Expeditious handling of her individual claims will only aid the
 9   Parties and the Court in the handling of the representative matter. Neither Plaintiff nor her counsel
10   dispute this fact.
11            The Representative PAGA Claim: Revature requests that the representative matter be
12   stayed pending arbitration of the individual matter. After requesting a stay in her Opposition
13   to Defendant’s Motion to Compel, (See ECF. 16, p. 18-19.) Plaintiff has now taken an about
14   face, opposing Defendant’s reasonable request for a stay. Although the Court declined Plaintiff’s
15   prior request to the representative matter pending a decision by the California Supreme Court in
16   Erik Aldoph v. Uber Technologies, Inc., Case No. S274671, Revature respectfully asserts that a
17   stay is nonetheless warranted. Section 3 of the Federal Arbitration Act (“FAA”) explicitly
18   authorizes a stay pending the resolution of an arbitration proceeding. 9 U.S.C § 3, stating the court
19   “shall on application of one of the parties stay the trial of the action until such arbitration has been
20   had in accordance with the terms of the agreement . . . .” (emphasis added). See Nagrama v.
21   MailCoups, Inc., 469 F.3d 1257, 1276 (9th Cir. 2006) (“If . . . [a court] decides the arbitration
22   agreement is valid and enforceable, then it should stay or dismiss the action pending
23   arbitration[.]”); Thinkey Ink Info. Res., Inc. v. Sun Microsys., Inc., 368 F.3d 1053, 1060 (9th Cir.
24   2004) (holding that the district court properly exercised its discretion in dismissing an action where
25   all claims were subject to arbitration); Franco v. Arakelian Enterprises, Inc., 234 Cal. App. 4th
26   947, fn. 12 (2015) (finding that under California law where there is an overlap in claims, the Court
27   should stay the non-arbitrable claims).
28                                            7
     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
     MOTION TO COMPEL ARBITRATION; ORDERING SUPPLEMENTAL BRIEFING ON REMAINING
     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1          As the Court has already declined to dismiss Plaintiff’s representative PAGA claim, the
 2   appropriate alternative under Section 3 is a stay. Plaintiff’s representative PAGA claims are
 3   premised on the fact that she is an aggrieved employee who allegedly suffered various labor code
 4   violations while working for Revature. (See ECF No. 1-4.) It is now for the arbitrator to determine,
 5   after both sides have conducted discovery whether Plaintiff’s claims have merit – i.e., whether she
 6   was, in any way, “aggrieved.” If she was not, all of her claims, including those alleged under
 7   PAGA must be dismissed. This outcome is consistent with Kim v. Reins, 9 Cal. 5th 73 (2020)
 8   which also stayed the underlying PAGA action until after the individual action was
 9   arbitrated. Kim does not hold that a PAGA plaintiff may continue to represent a group of
10   employees if a court or arbitrator finds that no violation has occurred. Rather, Kim stands only for
11   the proposition that settling a PAGA claim (or demonstrating that a PAGA plaintiff has not
12   suffered a monetary injury) does not deprive that employee of standing. 1
13          Here, it is clear that the option that will cause the least interference, risk of overlapping and
14   inconsistent decisions, and that will be most in line with judicial economy is to stay the action and
15   allow Plaintiff’s individual claims to be arbitrated first. Revature acknowledges the Court’s
16   concern about the length of a stay but if Plaintiff files her arbitration demand by the end of the
17   month, her individual claims can be arbitrated within a year or less. Otherwise, to allow the
18   representative and individual cases to go forward simultaneously risks inconsistent judgments,
19   overlapping evidentiary productions, and a waste of time the Parties’ and the Court’s time and
20   resources.
21          Many courts before and after Viking River have held that where the non-arbitrable PAGA
22   claims are derivative or and/or identical to the claims being arbitrated, a stay is the appropriate
23   remedy. See Anderson v. Safe Streets U.S. LLC, No. 2:18-cv-00323-KJM (E.D. Cal., Aug. 28,
24   2018) (staying derivative, overlapping PAGA claim pending arbitration); Borelli v. Black
25
     1
      Kim v. Reins was decided prior to Viking River Cruises, Inc. v. Moriana (2022) 596 U.S. ___,
26   ___ [142 S.Ct. 190, 1916] and its ruling that Iskanian was partially preempted. Logically, therefore
     Kim does not address situations like this where it’s possible for the arbitrator to determine
27   “aggrieved employee” status early in the litigation. The issue of how and when aggrieved
     employee status is determined is before the Supreme Court in Adolph v. Uber Technologies, Inc.
28                                            8
     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
     MOTION TO COMPEL ARBITRATION; ORDERING SUPPLEMENTAL BRIEFING ON REMAINING
     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1   Diamond Aggregates, Inc., No. 2:14-CV-02093-KJM-KJN, 2017 WL 1063564, at *12 (E.D. Cal.
 2   Mar. 21, 2017), reconsideration denied, 2017 WL 3438610 (Aug. 10, 2017), motion to certify
 3   interlocutory appeal denied, 2018 WL 1518678 (Mar. 28, 2018); see also Monplaisir v. Integrated
 4   Tech Grp., No. C 19-01484 WHA at pp. 5 (N.D. Cal., Mar. 2, 2020) (“There is no use proceeding
 5   on the PAGA claims here . . .; All PAGA claims are STAYED pending resolution of the arbitration
 6   proceedings.”); Farfan v. SSC Carmichael Operating Co., No. 18-cv-01472-HSG at pp. 5 (N.D.
 7   Cal., Oct. 7, 2019) (“The Court will continue to STAY the PAGA claims pending arbitration.”);
 8   Shephardson v. Adecco USA, Inc., No. 15-cv-05102-EMC, 2016 WL 1322994, *6 (N.D. Cal. April
 9   5, 2016); Leyva v. Certified Grocers of California, Ltd., 593 F.2d 857 at 863-64 (9th Cir. 1979)
10   ("A trial court may, with propriety, find it is efficient for its own docket and the fairest course for
11   the parties to enter a stay of an action before it, pending resolution of independent proceedings
12   which bear upon the case. . . . In such cases, the court may order a stay of the action pursuant to
13   its power to control its docket and calendar and to provide for a just determination of the cases
14   pending before it."); Jacobson v. Snap-on Tools Co., 2015 WL 8293164, at *6 (N.D. Cal. Dec. 9,
15   2015) (granting the defendant's motion to compel arbitration on all of the plaintiff's individual
16   claims and staying the representative PAGA claim pending completion of arbitration); Jenkins v.
17   Sterling Jewelers, Inc., 2018 WL 922386, at *7 (S.D. Cal. Feb. 16, 2018) (staying Plaintiff's PAGA
18   claims pending the outcome of the arbitration proceedings of the non-PAGA claims);
19   Mediterranean Enters., Inc. v. Ssangyong Corp., 708 F.2d 1458, 1465 (9th Cir. 1983) (affirming
20   district court's decision to stay lawsuit pending an arbitration that "might well decide issues which
21   bear in some way on the court's ultimate disposition" of non-arbitrable claims). Here, Plaintiff’s
22   representative PAGA claim is derivative of her individual and other substantive claims. (See ECF
23   No. 1-4.) Under the clear directive of 9 U.S.C. § 3, a stay is the most appropriate course of action.
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     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
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     CLAIMS                                                     Case No. 5:22-cv-01745-NC
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 1   Dated: September 14, 2022                    DIVERSITY LAW GROUP, P.C.
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     Dated: September 14, 2022                    JACKSON LEWIS P.C.
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     JOINT SUPPLEMENTAL STATEMENT BRIEF IN RESPONSE TO ORDER GRANTING DEFENDANT’S
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